
PER CURIAM.
AFFIRMED. See Muzzi v. State, 118 So.3d 933 (Fla. 5th DCA 2013); Kennedy v. State, 106 So.3d 512 (Fla. 5th DCA 2013); Ferrell v. State, 105 So.3d 539 (Fla. 5th DCA 2013); Anderson v. State, 105 So.3d 538 (Fla. 5th DCA 2013).
We certify that this decision conflicts with the decision of the Second District *1098Court of Appeal in Toye v. State, 133 So.3d 540 (Fla. 2d DCA 2014).
TORPY, C.J., SAWAYA and LAWSON, JJ., concur.
